 1                                                                       The Honorable Brian D. Lynch
                                                                                            Chapter 7
 2
                                                                                    Location: Tacoma
 3
                                UNITED STATES BANKRUPTCY COURT
 4                              WESTERN DISTRICT OF WASHINGTON
 5
      In re                                               No. 19-41061
 6
      ROY MCKAGUE,
 7
 8                                    Debtor.

 9    KATHRYN A. ELLIS, as Trustee for the
      estate of Roy McKague,                              Adv. No. 19-04039
10
11                                    Plaintiff,          NOTICE REGARDING FINAL
                                                          ADJUDICATION AND CONSENT
12    vs.

13    KITSAP CREDIT UNION, a credit union
      chartered and doing business in the State of
14
      Washington,
15
                                      Defendant.
16
17            Plaintiff, Kathryn A. Ellis, in her capacity as Chapter 7 Bankruptcy Trustee for the
18
     bankruptcy estate of Roy McKague, by and through the undersigned attorney, states as follows:
19
              1.     Plaintiff admits that the proceeding at issue is core, and that the Bankruptcy Court
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21   has jurisdiction over the causes of action alleged pursuant to 28 U.S.C. § 157 (b)(2)(A), (E), (F),

22   (H) and (O).

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                                                                               KATHRYN A. ELLIS PLLC
28                                                                                     5506 6th Ave S
                                                                                          Suite 207
                                                                                     Seattle, WA 98108
     NOTICE REGARDING FINAL ADJUDICATION AND CONSENT - 1                              (206) 682-5002
 1             2.         Plaintiff does consent to entry of final orders or judgment by the Bankruptcy
 2
     Court in this proceeding.
 3
               DATED this 5th day of November, 2019.
 4
 5                                                                   /s/ Kathryn A. Ellis
 6                                                                   Kathryn A. Ellis, WSBA #14333
                                                                     Attorney for Plaintiff
     C:\Shared\OneDrive - Kathryn A Ellis\Shared\KAE\Dox\TRUSTEE\McKague\cmp\adjudication_not.wpd
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